    Case 97-00626-SMT   Doc 32    Filed 09/24/20 Entered 09/24/20 10:18:37   Desc Main
                                  Document Page 1 of 2
The document below is hereby signed.

Signed: September 24, 2020




                                   ___________________________
                                   S. Martin Teel, Jr.
                                   United States Bankruptcy Judge

                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLUMBIA

     In re                                 )
                                           )
     TYRONE WATERS,                        )     Case No. 97-00626
                                           )     (Chapter 13)
                        Debtor.            )

                    MEMORANDUM DECISION AND ORDER DENYING
              SECOND APPLICATION FOR RELEASE OF UNCLAIMED FUNDS

          PNC Bank, National Association, successor-in-interest to

     National City Mortgage, has filed a second application (Dkt. No.

     29) for release of unclaimed funds in the amount of $743.35.                In

     a Memorandum Decision and Order entered on June 5, 2014, the

     court denied PNC’s earlier application because PNC had not shown

     that the debt had not been satisfied from other sources.                This

     second application includes this certification:

          I hereby certify that the unfunded claims relate to the
          claim of National City Mortgage filed as a creditor in
          the case, that I have been able to ascertain and have
          ascertained that the Creditor's claim has not been
          satisfied from other sources, and that the amount of
          the Creditor's claim that remains unpaid is equal to or
          exceeds the amount of the unclaimed funds. The way in
          which I ascertained this was: Check was never received.

     [Emphasis added.] That is an unsatisfactory certification.                The

     non-receipt of the check does not suffice to ascertain that the
Case 97-00626-SMT                                                                                    Doc 32   Filed 09/24/20 Entered 09/24/20 10:18:37   Desc Main
                                                                                                              Document Page 2 of 2


claim has not been satisfied from other sources.

                              As the assignee of the loan, PNC presumably acquired the

records relating to the loan.                                                                                          The certification makes no

representation that PNC has examined the records relating to the

loan to see whether sufficient payments were received from other

sources to satisfy the loan.1                                                                                         A filing in the case reflects that

in 1997 National City Mortgage was preparing to foreclose on the

real property securing the loan, yet PNC’s application is

entirely silent as to whether a foreclosure sale was held and, if

so, whether the proceeds of that sale sufficed to satisfy the

loan.

                              It is thus

                              ORDERED that PNC Bank’s second application (Dkt. No. 29) for

release of unclaimed funds in the amount of $743.35 is DENIED

without prejudice to the filing of an amended application

demonstrating a present day entitlement to the funds.

                                                                                                                                 [Signed and dated above.]

Copies to:

PNC Bank NA
First Side Center 500 First Ave
P7-PFSC-02-0
Pittsburgh PA 15219

United States Attorney
555 4th Street, NW
Washington, DC 20530


                              1
        PNC does not explain what records it examined to
ascertain that the check, issued in 1997, was not received.

R:\Common\TeelSM\LSO\ORDERS\Unclaimed Funds\Waters (Tyrone) - Deny 2d Application for Unclaimed Funds.wpd
                                                                                                                        2
